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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 STATE OF NEW YORK, et al.,
           Plaintiffs,
                  v.                                     Civil Action No. 18-1747 (JDB)
 U.S. DEPARTMENT OF LABOR, et al.,
           Defendants.


                                            ORDER

          Upon consideration of [31] plaintiff States’ motion for summary judgment, [47]

defendants’ motion to dismiss, or, in the alternative, motion for summary judgment, the parties’

memoranda in support of and in opposition to these motions, the arguments presented at the

January 24, 2019, motions hearing, and the entire record herein; and for the reasons stated in the

memorandum opinion filed on this date; it is hereby

          ORDERED that [47] defendants’ motion to dismiss is DENIED; it is further

          ORDERED that [47] defendants’ motion for summary judgment is DENIED; it is further

          ORDERED that [31] plaintiff States’ motion for summary judgment is GRANTED; it is

further

          ORDERED that the “Bona fide group or association of employers” and “Commonality of

interest” provisions of the Department of Labor’s Final Rule, Definition of “Employer” Under

Section 3(5) of ERISA—Association Health Plans, 83 Fed. Reg. 28,912 (June 21, 2018) (“Final

Rule”), which are codified at 29 C.F.R. §§ 2510.3-5(b)–(c), are VACATED; it is further

          ORDERED that the “Dual treatment of working owners as employers and employees”

provision of the Department of Labor’s Final Rule, which is codified at 29 C.F.R. § 2510.3-5(e),

is VACATED; and it is further
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       ORDERED that the Final Rule is otherwise REMANDED to the Department of Labor for

consideration of the effect of the severability provision, 29 C.F.R. § 2510.3-5(g), on the remaining

portions of the Final Rule.

       SO ORDERED.

                                                                         /s/
                                                                 JOHN D. BATES
                                                            United States District Judge
Dated: March 28, 2019




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